       Case 3:16-cv-00177-JCS Document 50 Filed 10/03/16 Page 1 of 4



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12 Attorney for Defendants
   FAY SERVICING, LLC
13 CHRISTIANA TRUST, a division of Wilmington Savings Fund Society, F.S.B., not in its
   individual capacity but as Trustee of ARLP Trust 5
14

15                              UNITED STATES DISTRICT COURT
16         NORTHERN DISTRICT OF CALIFORNIA - SAN FRANCISCO DIVISION
17

18 RENATO SANTOS, an individual, and
                                                  Case No. 3:16-CV-00177-JCS
   ARLEEN SANTOS, an individual;
19                                                [Assigned to Joseph C. Spero]
                   Plaintiffs,
20                                                STIPULATION OF DISMISSAL WITH
            vs.                                   PREJUDICE; [PROPOSED] ORDER ON
21                                                STIPULATION
   FAY SERVICING, LLC, a business entity;
22 CHRISTIANA TRUST, a division of
   Wilmington Savings Fund Society, F.S.B., not
23 in its individual capacity but as Trustee of
   ARLP Trust 5; and DOES 1 through 50,           Action Filed:    October 16, 2015
24 inclusive,                                     Trial Date:      None Set
25                Defendants.
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                                                                             3:15-cv-04001-WHA
                                                      STIPULATION OF DISMISSAL WITH PREJUDICE
        Case 3:16-cv-00177-JCS Document 50 Filed 10/03/16 Page 2 of 4



 1          Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, Plaintiffs Renato

 2 Santos and Arleen Santos (“Plaintiffs”) and Fay Servicing, LLC and Christian Trust, a division of

 3 Wilmington Savings Fund Society, F.S.B. (“Defendants”), by and through their undersigned

 4 counsel, stipulate and request that the above-captioned matter be dismissed in its entirety, with

 5 prejudice, pursuant to the parties’ agreement in this action.

 6          IT IS SO STIPULATED.

 7

 8 DATED: September 26, 2016                   MELLEN LAW FIRM

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10
                                               By:              /s/ Jessica Galleta
11                                                                Matthew D. Mellon
                                                                     Jessica Galleta
12
                                               Attorneys for Plaintiffs
13
                                               RENATO SANTOS
14                                             ARLEEN SANTOS

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16
     DATED: September 26, 2016                 ALSTON & BIRD LLP
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19                                             By:          /s/ Cassandra Hooks
                                                                   Cassandra Hooks
20
                                               Attorney for Defendant
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                                               FAY SERVICING, LLC
22                                             CHRISTIANA TRUST, a division of Wilmington
                                               Savings Fund Society, F.S.B., not in its individual
23                                             capacity but as Trustee of ARLP Trust 5
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                                                            STIPULATION OF DISMISSAL WITH PREJUDICE
        Case 3:16-cv-00177-JCS Document 50 Filed 10/03/16 Page 3 of 4



 1                                       ECF CERTIFICATION

 2         Pursuant to Local Rule 5-1(i)(3), the filing attorney attests that she has obtained

 3 concurrence regarding the filing of this document from all of the above signatories to the

 4 document.

 5

 6 Dated: September 26, 2016                      MELLEN LAW FIRM

 7

 8                                                By:     /s/ Jessica Galletta
                                                        Jessica Galletta
 9                                                      Attorneys for Plaintiffs
                                                        RENATO SANTOS
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                                                        ARLEEN SANTOS
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                                                            STIPULATION OF DISMISSAL WITH PREJUDICE
        Case 3:16-cv-00177-JCS Document 50 Filed 10/03/16 Page 4 of 4



 1                                      ORDER ON STIPULATION

 2          Pursuant to the joint stipulation of dismissal executed by the parties and Federal Rules of

 3 Civil Procedure 41(a)(1)(A)(ii), it is HEREBY ORDERED, ADJUDGED AND DECREED:

 4
        •   The above entitled action is dismissed with prejudice;
 5
        •   Each party shall bear their owns fees and costs; and
 6
        •   The Court shall close its file.
 7

 8      IT IS SO ORDERED.

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     DATED: September _______,
                         30    2016                        _____________________________
12                                                         Joseph C. Spero
                                                           Chief Magistrate Judge
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                                                       4
                                                            STIPULATION OF DISMISSAL WITH PREJUDICE
